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                Exhibit A
  2126948.1
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                                                                                  Registration Number
                                                                                  PAu 4-122-301
                                                                                  Effective Date of Registration:
                                                                                  February 22, 2022
                                                                                  Registration Decision Date:
                                                                                  February 23, 2022




    Title
                          Title of Work:   TFATK Episode 729


    Completion/Publication
                   Year of Completion:     2021

    Author

                     •       Author:       Thiccc Boy Productions Inc.
                      Author Created:      entire motion picture
                   Work made for hire:     Yes
                           Citizen of:     United States

    Copyright Claimant

                   Copyright Claimant:     Thiccc Boy Productions Inc.
                                           c/o Glaser Weil LLP, 10250 Constellation Blvd., Los Angeles, CA, 90067,
                                           United States
1
    Limitation of copyright claim

      Material excluded from this claim:   some preexisting footage and images

        New material included in claim:    all other cinematographic material
0
    Certification

                                  Name:    Robert E. Allen
                                   Date:   February 22, 2022
                                   Date:   February 22, 2022
                                           Approved
                         Correspondence:   Yes



                                                                                                             Page 1 of 1
Case 1:22-cv-00090-MSM-PAS                   Document 1-1           Filed 02/28/22        Page 3 of 6 PageID #: 8




                                                                                  Registration Number
                                                                                  PAu 4-122-303
                                                                                  Effective Date of Registration:
                                                                                  February 22, 2022
                                                                                  Registration Decision Date:
                                                                                  February 23, 2022




    Title
                          Title of Work:   TFATK Episode 740


    Completion/Publication
                   Year of Completion:     2021

    Author

                     •       Author:       Thiccc Boy Productions Inc.
                      Author Created:      entire motion picture
                   Work made for hire:     Yes
                           Citizen of:     United States

    Copyright Claimant

                   Copyright Claimant:     Thiccc Boy Productions Inc.
                                           c/o Glaser Weil LLP, 10250 Constellation Blvd., 19th Floor, Los Angeles, CA,
                                           90067, United States
1
    Limitation of copyright claim

      Material excluded from this claim:   some preexisting footage and images

        New material included in claim:    all other cinematographic material
0
    Certification

                                  Name:    Robert E. Allen
                                   Date:   February 22, 2022
                                   Date:   February 22, 2022
                                           Approved
                         Correspondence:   Yes



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Case 1:22-cv-00090-MSM-PAS                   Document 1-1           Filed 02/28/22       Page 4 of 6 PageID #: 9




                                                                                  Registration Number
                                                                                  PAu 4-122-304
                                                                                  Effective Date of Registration:
                                                                                  February 22, 2022
                                                                                  Registration Decision Date:
                                                                                  February 23, 2022




    Title
                         Title of Work:    TFATK Episode 726


    Completion/Publication
                   Year of Completion:     2021

    Author

                     •       Author:       Thiccc Boy Productions Inc.
                      Author Created:      entire motion picture
                   Work made for hire:     Yes
                           Citizen of:     United States

    Copyright Claimant

                   Copyright Claimant:     Thiccc Boy Productions Inc.
                                           c/o Glaser Weil LLP, 10250 Constellation Blvd, 19th Fl, Los Angeles, CA,
                                           90067, United States
1
    Limitation of copyright claim

      Material excluded from this claim:   some preexisting footage and images

        New material included in claim:    all other cinematographic material
1
     Rights and Permissions

                   Organization Name:      Glaser Weil LLP
                                Name:      Robert E Allen
                                Email:     rallen@glaserweil.com
                            Telephone:     (310)282-6280
                       Alt. Telephone:     (310)895-8925
                              Address:     10250 Constellation Blvd.
                                           19th Floor

                                                                                                              Page 1 of 2
Case 1:22-cv-00090-MSM-PAS           Document 1-1         Filed 02/28/22   Page 5 of 6 PageID #:
                                            10


                                  Los Angeles, CA 90067 United States

Certification

                         Name:    Robert E. Allen
                          Date:   February 22, 2022
                          Date:   February 22, 2022
                                  Approved
                Correspondence:   Yes




                                                                                         Page 2 of 2
    Case 1:22-cv-00090-MSM-PAS                 Document 1-1          Filed 02/28/22        Page 6 of 6 PageID #:
                                                      11




                                                                                   Registration Number
                                                                                   PAu 4-122-306
                                                                                   Effective Date of Registration:
                                                                                   February 22, 2022
                                                                                   Registration Decision Date:
                                                                                   February 23, 2022




    Title
                          Title of Work:   TFATK Episode 725


    Completion/Publication
                   Year of Completion:     2021

    Author

                     •       Author:       Thiccc Boy Productions Inc.
                      Author Created:      entire motion picture
                   Work made for hire:     Yes
                           Citizen of:     United States

    Copyright Claimant

                   Copyright Claimant:     Thiccc Boy Productions Inc.
                                           c/o Glaser Weil LLP, 10250 Constellation Blvd., 19th Fl, Los Angeles, CA,
                                           90067, United States
1
    Limitation of copyright claim

      Material excluded from this claim:   some preexisting footage and images

        New material included in claim:    all other cinematographic material
0
    Certification

                                  Name:    Robert E. Allen
                                   Date:   February 22, 2022
                                   Date:   February 22, 2022
                                           Approved
                         Correspondence:   Yes



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